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 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                     WESTERN DIVISION
12
13    ACQUISITION MANAGEMENT, INC.,                CASE NO.: 2:19-cv-06814-DSF-KS
14                       Plaintiffs,
15    vs.                                          DECLARATION OF NINA D.
                                                   BOYAJIAN IN SUPPORT OF
16    RETREAVER, INC., and DOES 1-5,
      inclusive,                                   DEFENDANT RETREAVER, INC.’S
17                                                 MOTION FOR AWARD OF JUST
                         Defendants.               COSTS PURSUANT TO 28 U.S.C. §
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                                                   1919
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                                                   [Notice of Motion and Motion;
20                                                 Memorandum of Points and Authorities;
21                                                 Proposed Order filed concurrently]

22
                                                   Hon. Dale S. Fischer
23
24                                                 Action Filed: August 6, 2019
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 1                         DECLARATION OF NINA D. BOYAJIAN
 2   I, Nina D. Boyajian, declare and state:
 3         1.     I am a shareholder with the law firm of Greenberg Traurig, LLP, counsel of
 4   record for Defendant Retreaver, Inc. I am licensed to practice law in the State of
 5   California and before this Court. I have personal knowledge of the facts set forth in this
 6   Declaration and, if called and sworn as a witness, I could and would testify competently
 7   with respect thereto. I submit this Declaration in support of Defendant Retreaver, Inc.’s
 8   Motion for Award of Just Costs Pursuant to 28 U.S.C. § 1919 (“Motion”).
 9         2.     Retreaver incurred a total of $7,760.18 in costs in preparing and maintaining
10   its lack of personal jurisdiction defense to Plaintiff Acquisition Management, Inc.’s
11   (“Acquisition”) claims. Attached hereto as Exhibit 1 is a breakdown of the itemized costs
12   that Retreaver is seeking to recover in this Motion that I caused to be prepared based on
13   records that I am primarily responsible for and which are maintained by Greenberg
14   Traurig, LLP’s Los Angeles office in the ordinary course of business. I have caused
15   certain sensitive information to be redacted from Exhibit 1, including Greenberg Traurig’s
16   internal client/matter number assigned to Retreaver for this case, and direct personal
17   phone numbers related to the public records searches conducted for Retreaver, described
18   below.
19         3.     Retreaver incurred $52.00 in service fees in connection with preparing its
20   defense for lack of personal jurisdiction. This included the cost of delivering chambers
21   copies of Retreaver’s Motion to Dismiss (ECF No. 26) and Stipulated Protective Order,
22   notices of appearances, and Retreaver’s corporate disclosure statement (ECF Nos. 16-18)
23   to the Court’s chambers. The Stipulated Protective Order was necessary for Retreaver’s
24   personal jurisdiction defense because only after the Stipulated Protective Order was
25   entered could I disclose confidential business information to counsel for Acquisition that I

26   hoped, at the time, might have resolved this case without the need for motion practice,

27   including on personal jurisdiction grounds. Attached hereto as Exhibit 2 is a true and

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 1   correct copy of the invoices from First Legal Network, LLC that reflect these service fees
 2   incurred by Retreaver.
 3         4.     Retreaver incurred $340.60 in costs for public records searches preparing its
 4   defense for lack of personal jurisdiction. These searches were conducted through several
 5   vendors, including LexisNexis, Accurint, and TransUnion Risk and Alternative Data
 6   Solutions, Inc. These public records searches were essential to Retreaver’s defense for
 7   lack of personal jurisdiction. Specifically, Retreaver’s public records searches included
 8   research into the address out of which Acquisition claimed Retreaver operated in
 9   California and retrieving Retreaver’s corporate formation documents (which were
10   prepared by Retreaver’s former counsel and not within Retreaver’s actual possession),
11   which was necessary for Retreaver to refute Acquisition’s claim that Retreaver ever
12   operated within California. Retreaver also searched public records for Oscar Maglio and
13   HPJ Holdings, Inc., which Acquisition claimed were in California, and which formed the
14   primary basis for Acquisition to claim that personal jurisdiction over Retreaver existed.
15   Ultimately, Retreaver submitted the results of these public records searches to the Court in
16   its Request for Judicial Notice, ECF No. 27, upon which its Motion to Dismiss was based,
17   both of which were granted by the Court, which shows that these costs were necessarily
18   incurred in preparing Retreaver’s personal jurisdiction defense. Attached hereto as
19   Exhibit 3 are true and correct copies of the invoices from the vendors that Retreaver used
20   for the public records searches described in this paragraph. Certain financially sensitive
21   information, such as Employer ID numbers, and information pertaining to clients other
22   than Retreaver, has been redacted. The public records searches that Greenberg Traurig’s
23   research department ran through LexisNexis on August 29, 2019 and November 21, 2019
24   were line item costs to Greenberg Traurig from LexisNexis, and are not reflected on any
25   invoices to the firm. This process is further explained in paragraph 8, below.

26         5.     I provided a courtesy discount to Retreaver on some of the public records

27   searches that Greenberg Traurig performed for this case, which resulted in $71.04 in

28   public records search costs being written off Greenberg Traurig’s invoices to Retreaver.

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 1         6.     Retreaver incurred a total of $1,998.75 in private investigator fees preparing
 2   its defense for lack of personal jurisdiction. These fees included payment for an
 3   investigation into Acquisition’s ties to San Diego, which Retreaver commissioned because
 4   it suspected that Acquisition was attempting to artificially create a link between Retreaver
 5   and San Diego. The private investigator searched broadly into Oscar Maglio’s possible
 6   whereabouts and HPJ Holdings’ possible location worldwide. It was necessary for
 7   Retreaver to use a private investigator to confirm Mr. Maglio’s alleged whereabouts
 8   because counsel for Acquisition did not provide counsel for Retreaver, whether as part of
 9   the Local Rule 7-3 meet and confer process or otherwise, any evidence authenticated by
10   Mr. Maglio that confirmed Acquisition’s claims that he and HPJ Holdings were located
11   within California. Because Retreaver does business worldwide, we used the private
12   investigator to confirm that there was not any HPJ Holdings at any location outside of the
13   United States (which a public records search will not show) that could be tied to
14   Acquisition’s claims in the First Amended Complaint. Attached hereto as Exhibit 4 is a
15   true and correct copy of the invoice received from Retreaver’s private investigator,
16   Charles Griffin Intelligence, Inc., that show the costs Retreaver incurred described in this
17   paragraph. I have caused portions of Exhibit 4 to be redacted that show the private
18   investigator’s fees for researching matters that were not ultimately part of Retreaver’s
19   defense for lack of personal jurisdiction.
20         7.     Retreaver incurred $5,398.83 in electronic legal research costs preparing its
21   defense for lack of personal jurisdiction. Greenberg Traurig normally bills its clients for
22   electronic legal research costs. Greenberg Traurig does not have a subscription with either
23   Westlaw or LexisNexis pursuant to which it pays one monthly fee in exchange for
24   unlimited document and search capabilities. In this case, the legal research into
25   Retreaver’s personal jurisdiction defense was primarily conducted by Rebekah Guyon, an

26   associate with Greenberg Traurig and counsel for Retreaver in this case. Ms. Guyon was

27   also responsible for legal research into Retreaver’s defenses on the merits to Acquisition’s

28   claims, but those research costs are not included in the costs sought by this Motion. To

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 1   account for this other research, I have reduced the amount of legal research costs
 2   associated with Ms. Guyon’s research by 50% before Acquisition’s First Amended
 3   Complaint was filed, because I estimate that at least half of Ms. Guyon’s electronic legal
 4   research was spent developing case law to support Retreaver’s defense for lack of
 5   personal jurisdiction before that date. When Acquisition filed its First Amended
 6   Complaint on November 11, 2019, we realized that we needed to devote more resources
 7   to Retreaver’s personal jurisdiction defense because Acquisition added the theory that
 8   Retreaver had solicited a “California Entity” in support of its jurisdiction claim. Ms.
 9   Guyon also developed research into Retreaver’s defense on the merits to Acquisition’s
10   defamation claim after Acquisition filed the First Amended Complaint, but from my role
11   overseeing Retreaver’s legal defense in this case, I know that Ms. Guyon spent
12   significantly more time developing case law to support Retreaver’s defense for lack of
13   personal jurisdiction than she spent developing Retreaver’s defense on the merits to
14   Acquisition’s defamation claim. For this reason, I have discounted the amount of legal
15   research costs associated with Ms. Guyon’s research by 33% after the First Amended
16   Complaint was filed. Another associate with Greenberg Traurig, Kristin McCarthy,
17   assisted with Retreaver’s legal research in support of its personal jurisdiction defense as
18   well, and I also personally conducted research into Retreaver’s personal jurisdiction
19   defense. Retreaver is not requesting an award of any legal research costs incurred
20   preparing its Motion to Strike, ECF No. 28, which neither Ms. Guyon nor Ms. McCarthy
21   prepared.
22         8.     Greenberg Traurig is billed on a monthly basis by both Westlaw and
23   LexisNexis for the costs of electronic legal research that Greenberg Traurig incurs on
24   behalf of its clients. The monthly invoices show only lump sum amounts, and are not
25   allocated by client, date, or substance of research performed. Therefore, to generate an

26   accounting of the amounts owed by each Greenberg Traurig client, Greenberg Traurig

27   pulls specific cost information directly from Westlaw’s and LexisNexis’s websites,

28   respectively, which are reflected as line items maintained by Greenberg Traurig’s

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 1   accounting department. The line items for the electronic legal research costs that
 2   Retreaver is seeking to recover in the Motion, with the discounts applied as discussed in
 3   paragraph 7, are shown in Exhibit 1.
 4         9.     I provided a courtesy discount to Retreaver on some of the electronic legal
 5   research costs performed in its defense, which resulted in $4,891.11 in electronic legal
 6   research costs being written off Greenberg Traurig’s invoices to Retreaver.
 7         I declare under penalty of perjury under the laws of the United States of America
 8   that the foregoing is true and correct and that this Declaration was executed February 5,
 9   2020 at Los Angeles, California.
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                                               /s/ Nina D. Boyajian
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                                                   NINA D. BOYAJIAN
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